      Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                     Entered 08/14/20 09:00:23                       Page 1 of 15
                                                                                                                                   08/14/2020 08:58:34am



 Fill in this information to identify your case:
 Debtor 1            David                   Chad                 Patterson
                     First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         20-42475-7
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        308 E. Pecan St.                                   From   11/2018                                                        From
        Number      Street                                                      Number      Street
                                                           To      8/2019                                                        To


        Paradise                  TX       76073
        City                      State    ZIP Code                             City                      State   ZIP Code


        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        112 CR 3471                                        From    6/2016                                                        From
        Number      Street                                                      Number      Street
                                                           To     11/2018                                                        To


        Paradise                  TX       76073
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
      Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                    Entered 08/14/20 09:00:23                    Page 2 of 15
                                                                                                                               08/14/2020 08:58:34am



Debtor 1       David Chad Patterson                                                      Case number (if known)     20-42475-7

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,            $35,000.00       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $55,372.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $75,000.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income          Gross income
                                                  Describe below.             from each source     Describe below.            from each source
                                                                              (before deductions                              (before deductions
                                                                              and exclusions                                  and exclusions

From January 1 of the current year until          IRA withdrawal             $50,000.00
the date you filed for bankruptcy:                Non-Filing Spouse's income $4,711.56
                                                  Non-Filing Spouse's unemployment
                                                                             $13,860.00


For the last calendar year:                       Non-Filing Spouse's income $39,999.00
(January 1 to December 31, 2019 )
                                YYYY



For the calendar year before that:                Non-Filing Spouse's income $51,847.00
(January 1 to December 31, 2018 )
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
        Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                       Entered 08/14/20 09:00:23                      Page 3 of 15
                                                                                                                                       08/14/2020 08:58:34am



Debtor 1         David Chad Patterson                                                         Case number (if known)      20-42475-7


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Everett Financial                                                                $3,176.67          $168,000.00             Mortgage
Creditor's name                                                                                                             Car
                                                              monthly last 90 days
4201 Spring Valley Road, Ste 1450                                                                                           Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Dallas                              TX       75244                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Lustig & Young Orthodontics                                                       $735.00            $4,410.00              Mortgage
Creditor's name                                                                                                             Car
                                                              monthly last 90 days
705 W. Bailey Boswell                                                                                                       Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Saginaw                             TX       76179                                                                          Other orthodontics
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
See Schedule J                                                                                                              Mortgage
Creditor's name                                                                                                             Car
                                                              re-occuring monthly expenses
                                                                                                                            Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
                                                                                                                            Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                              Entered 08/14/20 09:00:23                   Page 4 of 15
                                                                                                                         08/14/2020 08:58:34am



Debtor 1      David Chad Patterson                                                  Case number (if known)    20-42475-7
                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Internal Revenue Service                                               $65,237.48                             Mortgage
Creditor's name                                                                                               Car
                                                     1/6/20 -3/6/2020
1100 Commerce Street, MC 5026 DAL                                                                             Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Dallas                      TX       75242                                                                    Other 941 taxes for Path Oilfield Services
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
EECU                                                                   $41,250.78            $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     3/31/20
PO Box 1777                                                                                                   Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Ft. Worth                   TX       76101                                                                    Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Infiniti Finance                                                        $949.32           $58,201.57          Mortgage
Creditor's name                                                                                               Car
                                                     3/___/20
PO Box 660577                                                                                                 Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Dallas                      TX       75266-0577                                                               Other
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
First State Bank of Graham                                              $6,000.00        $447,058.00          Mortgage
Creditor's name                                                                                               Car
                                                     1/24/20
PO Box 1988                                                                                                   Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Graham                      TX       76450                                                                    Other Corporate debt
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Montague CAD                                                            $651.82              $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     3/10/20
Kim Haralson/Collector                                                                                        Credit card
Number     Street
                                                                                                              Loan repayment
PO Box 121
                                                                                                              Suppliers or vendors
Montague                    TX       76251                                                                    Other property taxes
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
CNH Industrial Capital                                                  $3,073.74            $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     monthly last 90 days
PO Box 3600                                                                                                   Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Lancaster                   PA       17604                                                                    Other 2015 Holland Tractor
City                        State    ZIP Code




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                              Entered 08/14/20 09:00:23                   Page 5 of 15
                                                                                                                         08/14/2020 08:58:34am



Debtor 1      David Chad Patterson                                                  Case number (if known)    20-42475-7
                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Pinnacle Bank                                                          $6,128.70             $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     1/30/20
                                                                                                              Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
                                                                                                              Other pay off on 1999 Freightliner
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Bank of the West                                                        $859.50           $26,772.18          Mortgage
Creditor's name                                                                                               Car
                                                     monthly last 90 days
PO Box 2078                                                                                                   Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Omaha                       NE       68103                                                                    Other boat payment
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
National Bank of Texas                                                 $1,031.91          $47,977.00          Mortgage
Creditor's name                                                                                               Car
                                                     monthly last 90 days
PO Box 161967                                                                                                 Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Fort Worth                  TX       76161                                                                    Other real property: Roberts Cutoff
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Sheffield                                                              $1,931.19             $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     1/22/20
PO Box 580229                                                                                                 Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Charlotte                   NC       28258-0229                                                               Other Bad Boy Zero Turn Mower
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
TD Auto Finance                                                        $1,502.46          $29,427.39          Mortgage
Creditor's name                                                                                               Car
                                                     monthly last 90 days
PO Box 9223                                                                                                   Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Farmington Hills            MI       48333-9223                                                               Other Non-Filing Spouse's car loan for daug
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
C&S Rock Haulers                                                       $8,491.49                              Mortgage
Creditor's name                                                                                               Car
                                                     1/3/2020 - 2/27/20
                                                                                                              Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
                                                                                                              Other
City                        State    ZIP Code




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                              Entered 08/14/20 09:00:23                   Page 6 of 15
                                                                                                                         08/14/2020 08:58:34am



Debtor 1      David Chad Patterson                                                  Case number (if known)    20-42475-7
                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
First State Bank of Graham                                            $307,885.25            $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     4/3/2010
PO Box 1988                                                                                                   Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Graham                      TX       76450                                                                    Other 985 CR 1550m Chico, Texas
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Wise County Tax Office                                                 $5,446.51                              Mortgage
Creditor's name                                                                                               Car
                                                     4/3/2020
404 W. Walnut                                                                                                 Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Decatur                     TX       76234                                                                    Other 2018 business property taxes
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Wise County Tax Office                                                 $8,177.36             $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     4/3/2020
404 W. Walnut                                                                                                 Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Decatur                     TX       76234                                                                    Other 2019 business property taxes
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Wise County Tax Office                                                 $8,061.30                              Mortgage
Creditor's name                                                                                               Car
                                                     4/3/2020
404 W. Walnut                                                                                                 Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Decatur                     TX       76234                                                                    Other 2019 commerical property taxes
City                        State    ZIP Code

                                                     Dates of       Total amount       Amount you          Was this payment for...
                                                     payment        paid               still owe
Bonnie & Clyde's Pools & Spas                                          $2,234.52             $0.00            Mortgage
Creditor's name                                                                                               Car
                                                     7/21/20
1926 S. Main Street                                                                                           Credit card
Number     Street
                                                                                                              Loan repayment
                                                                                                              Suppliers or vendors
Weatherford                 TX                                                                                Other above ground pool
City                        State    ZIP Code




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 6
        Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                      Entered 08/14/20 09:00:23                         Page 7 of 15
                                                                                                                                         08/14/2020 08:58:34am



Debtor 1         David Chad Patterson                                                          Case number (if known)      20-42475-7
7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                             Dates of       Total amount          Amount you          Reason for this payment
                                                             payment        paid                  still owe
Daughter                                                                                                              Debtor provides financial
Insider's name                                                                                                        assistance to Daugther by
                                                             monthly
                                                                                                                      helping to make her car
Number       Street
                                                                                                                      payment



City                               State    ZIP Code


                                                             Dates of       Total amount          Amount you          Reason for this payment
                                                             payment        paid                  still owe
Bobby & Thelma Patterson                                                        $1,000.00               $0.00         loan repayment
Insider's name
                                                             7/2020
895 CR 3342
Number       Street



Paradise                           TX       76073
City                               State    ZIP Code


8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                  Nature of the case                          Court or agency                                Status of the case
Prime Building Components                   business debt collection                    Justice Court, Precinct 4
                                                                                                                                                 Pending
dba Prime Bridgeport Inc. vs.               Judgment, Plaintiff take Nothing            Court Name
Path Oilfield Services, Missy               entered March , 2020                        Wise County, Texas                                       On appeal
Patterson dba Path Services;                                                            Number     Street
                                                                                                                                                 Concluded
Case number SC-19-00245-4

                                                                                        City                       State    ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                            Entered 08/14/20 09:00:23                       Page 8 of 15
                                                                                                                                            08/14/2020 08:58:34am



Debtor 1         David Chad Patterson                                                               Case number (if known)    20-42475-7
Case title                                      Nature of the case                           Court or agency                              Status of the case
P&K Stone, LLC vs. Path          business debt collection                                    271st Judicial District
                                                                                                                                                     Pending
Oilfield Services, LLC and David                                                             Court Name
Patterson                                                                                    Wise County, Texas                                      On appeal
                                                                                             Number     Street
Case number CV20-06-467                                                                                                                              Concluded


                                                                                             City                     State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                   Describe the property                            Date             Value of the property
Infiniti Finance                                                   2017 Infiniti; Debtors voluntarily
Creditor's Name                                                    surrendered vehicle
8900 Freeport Pkwy
Number       Street                                                Explain what happened
                                                                      Property was repossessed.
                                                                      Property was foreclosed.
Irving                                 TX           75063             Property was garnished.
City                                   State        ZIP Code          Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities                                    Describe what you contributed                  Date you               Value
that total more than $600                                              monthly cash donations                         contributed
St. Jude                                                                                                                      2019              $1,200.00
Charity's Name

                                                                                                                              2018              $1,200.00
Number       Street




City                                        State       ZIP Code




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
        Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                    Entered 08/14/20 09:00:23                      Page 9 of 15
                                                                                                                                   08/14/2020 08:58:34am



Debtor 1       David Chad Patterson                                                        Case number (if known)     20-42475-7

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
The Vida Law Firm, PLLC                                                                                         or transfer was     payment
Person Who Was Paid                                                                                             made

3000 Central Drive                                                                                                 02/3/2020            $5,500.00
Number      Street




Bedford                       TX       76021
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Abacus Credit Counseling                                                                                        or transfer was     payment
Person Who Was Paid                                                                                             made

                                                                                                                    04/13/20             $25.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 9
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                    Entered 08/14/20 09:00:23                      Page 10 of 15
                                                                                                                                    08/14/2020 08:58:34am



Debtor 1       David Chad Patterson                                                         Case number (if known)     20-42475-7
18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Sutherland Energy                                    property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         2017 Chevrolet Silverado                $41,250.78 (proceeds were paid                1/31/20
1102 Stevens St, Ste 8                                                                       directly by Sutherland Energy to
Number      Street                                                                           EECU to pay off balance owed on
                                                                                             vehicle. Debtor did not net any
                                                                                             proceeds from sale.
Bridgeport                    TX       76426
City                          State    ZIP Code

Person's relationship to you

                                                     Description and value of any            Describe any property or payments          Date transfer
Sutherland Energy                                    property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         2016 Gooseneck Trailer                  $3500.00; proceeds were sent to               1/24/20
1102 Stevens St. Ste 8                               VIN# 3581                               FSB Graham;
Number      Street




Bridgeport                    TX       76426
City                          State    ZIP Code

Person's relationship to you

                                                     Description and value of any            Describe any property or payments          Date transfer
Jeffrey McGuire                                      property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         as acting Agent for PATH                $8500.00; proceeds of $6,128.70               1/30/20
                                                     Oilfields, Debtor sold a 1999           was paid to Pinnacle Bank for
Number      Street                                   Freightliner VIN#____                   the balance owed on the vehicle.
                                                                                             remaining proceeds $2,371.30
                                                                                             was deposited in PATH's
                                                                                             Community Bank checking
City                          State    ZIP Code                                              account

Person's relationship to you

                                                     Description and value of any            Describe any property or payments          Date transfer
JC3 Properties, LLC                                  property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         As acting Agent for PATH                $335,000.00; proceeds paid to                 4/3/2020
PO Box 647                                           oilfirldes Services, LLC, Debtor        FSB Graham and property taxes
Number      Street                                   sold 7.997 acres of                     net: $1,097.37
                                                     commerical property situated
                                                     at
                                                     985 CR 1550 Chico, Texas
Chico                         TX       76431
City                          State    ZIP Code      76431

Person's relationship to you




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 10
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                    Entered 08/14/20 09:00:23                     Page 11 of 15
                                                                                                                                   08/14/2020 08:58:34am



Debtor 1        David Chad Patterson                                                       Case number (if known)     20-42475-7
                                                      Description and value of any           Describe any property or payments         Date transfer
Duane Sutherland                                      property transferred                   received or debts paid in exchange        was made
Person Who Received Transfer                          DPMS AR $600.00                $1800.00
                                                      Browning Black Lightning 12 ga
Number      Street                                    $600.00
                                                      Taurus 380 pistol $200.00
                                                      9mm Glock $400.00

City                            State   ZIP Code

Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
Community Bank
Name of Financial Institution
                                                      XXXX- 2       4    0   6         Checking                     4/2020               $60.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other money market

City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
First State Bank
Name of Financial Institution
                                                      XXXX-         2    9   4         Checking               3/12/20                     $0.00
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other business checking

City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 11
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                      Entered 08/14/20 09:00:23               Page 12 of 15
                                                                                                                               08/14/2020 08:58:34am



Debtor 1       David Chad Patterson                                                        Case number (if known)    20-42475-7
21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                 Who else has or had access to it?           Describe the contents                 Do you still
                                                                                                                                   have it?

Paradise Storage                                                                             household items: Christmas                No
Name of Storage Facility                         Name                                        decor, shop tables, keepsake              Yes
215 Hickory St.                                                                              items
Number     Street                                Number    Street                            closed 9/2019



Paradise                   TX      76073
City                       State   ZIP Code      City                   State   ZIP Code

                                                 Who else has or had access to it?           Describe the contents                 Do you still
                                                                                                                                   have it?

Country Place Mini Storage                                                                   household items: shop tools,              No
Name of Storage Facility                         Name                                        drills, hand tools, saw, 2 tool           Yes
261 PR 3333                                                                                  boxes, battery operated child's
Number     Street                                Number    Street                            ride on tractor
                                                                                             closed 11/2019


Bridgeport                 TX      76426
City                       State   ZIP Code      City                   State   ZIP Code


  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                 Where is the property?                      Describe the property                Value

Path Oilfield Services, LLC, Texas                                                           business checking account               $0.00
Owner's Name                                                                                 ending 855
                                                 The Community Bank
Number     Street                                Number    Street




City                       State   ZIP Code      City                   State   ZIP Code

                                                 Where is the property?                      Describe the property                Value

Robbie Forbis                                                                                1969 Chevrolet C-10                   $2,500.00
Owner's Name                                                                                 inoperable
PO Box 801                                       716 CR 3241
Number     Street                                Number    Street




Chico                      TX      76431         Paradise               TX
City                       State   ZIP Code      City                   State   ZIP Code



Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 12
         Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                    Entered 08/14/20 09:00:23                 Page 13 of 15
                                                                                                                               08/14/2020 08:58:34am



Debtor 1        David Chad Patterson                                                       Case number (if known)    20-42475-7
                                                 Where is the property?                      Describe the property                Value

Sutherland Energy                                                                            Debtor is storing the following
Owner's Name                                                                                 assets that belong to
1102 Steven St. Ste 8                            Debtor's residence:                         Sutherland Energy due to the
Number       Street                              Number    Street                            Company not having a place
                                                                                             to store them:
                                                 716 CR 3241
                                                                                             2017 Chevrolet Pickup
                                                                                             $48,00.00
Bridgeport                 TX      76426         Paradise               TX                   Gray gooseneck trailer
City                       State   ZIP Code      City                   State   ZIP Code
                                                                                             $3,000.00
                                                                                             2016 Takeuchi Skidsteer
                                                                                             $30,000.00
                                                                                             1 set of rubber tracks for
                                                                                             skidsteer $30,00.00

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 13
       Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                       Entered 08/14/20 09:00:23                         Page 14 of 15
                                                                                                                                         08/14/2020 08:58:34am



Debtor 1       David Chad Patterson                                                            Case number (if known)         20-42475-7

  Part 11:       Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                 Describe the nature of the business                 Employer Identification number
Path Oilfield Services, LLC                      trucking                                            Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN: 4     7 – 2         5    8    3   2      7     9
985 CR 1550                                      Name of accountant or bookkeeper
Number     Street
                                                 Missy Patterson                                     Dates business existed

                                                                                                     From      12/2014            To   2/14/2020
Chico                     TX      76431
City                      State   ZIP Code

                                                 Describe the nature of the business                 Employer Identification number
Elite Dozer Services, LLC                        Debtor Husband had a 5% partnership                 Do not include Social Security number or ITIN.
Business Name                                    interest. inactive and dissolved
                                                                                                     EIN: 2     7 – 3         1    4    7   7      8     9
                                                 12/20/19
Number     Street
                                                 Name of accountant or bookkeeper                    Dates business existed

                                                                                                     From       7/2010            To     2018

City                      State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

                                                             Date issued
First State Bank                                              03/27/2019
Name

PO Box 1988
Number     Street




Graham                             TX        76450
City                               State     ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 14
     Case 20-42475-mxm7 Doc 11 Filed 08/14/20                                Entered 08/14/20 09:00:23                   Page 15 of 15
                                                                                                                          08/14/2020 08:58:34am



Debtor 1     David Chad Patterson                                                   Case number (if known)    20-42475-7

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ David Chad Patterson                            X
   David Chad Patterson, Debtor 1                         Signature of Debtor 2

   Date     08/14/2020                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 15
